      Case 23-01092-MBK             Doc      Filed 04/14/23 Entered 04/14/23 13:23:18               Desc Main
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)                          Order Filed on April 14, 2023
                                                                              by Clerk
     Law Offices of Mitchell J. Malzberg, LLC                                 U.S. Bankruptcy Court
     By: Mitchell J. Malzberg, Esq.                                           District of New Jersey
     6 E. Main Street, Suite 7
     Clinton, NJ 08809
     908-323-2958
     908-933-0808 – facsimile
     mmalzberg@mjmalzberglaw.com
     Local Counsel for Various Claimants



                                                                  Case No.:            23-12825/MBK
                                                                                    ___________________
     In Re:
     LTL MANAGEMENT, LLC                                          Adv. No.:         ___________________

                                                                  Chapter:                   11
                                                                                    ___________________

                                                                  Judge:             Michael B. Kaplan
                                                                                    ___________________



                                             ORDER FOR ADMISSION PRO HAC VICE


              The relief set forth on the following page is ORDERED.




DATED: April 14, 2023




                                                        1
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        This matter having been brought before the Court on application for an Order For Admission
Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, out-of-state
attorney, and considered this matter pursuant to Fed.R.Civ.Proc.78, D.N.J. L.Civ.R.101.1 and D.N.J.
LBR 9010-1, and good cause having been shown; it is

                               Mark P. Robinson, Jr., Esq.
        ORDERED that ____________________________________________ be permitted to appear
pro hac vice; provided that pursuant to D.N.J. L.Civ. R. 101.1(c)(4), an appearance as counsel of record
shall be filed promptly by a member of the bar of this Court upon whom all notices, orders and
pleadings may be served, and who shall promptly notify the out-of-state attorney of their
receipt. Only an attorney at law of this Court may file papers, enter appearances for parties, sign
stipulations, or sign and receive payments on judgments, decrees or orders, and it is further

        ORDERED that the applicant shall arrange with the New Jersey Lawyers' Fund for Client
Protection for payment of the annual fee, for this year and for any year in which the out-of-state attorney
continues to represent a client in a matter pending in this Court in accordance with New Jersey Court Rule
1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20) days of the date of the
entry of this Order, and it is further

        ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice
admission to the District Court for the District of New Jersey shall also be payable within twenty (20)
days of entry of this Order. Payment in the form of a check must be payable to "Clerk, USDC" and
forwarded to the Clerk of the United States District Court for the District of New
Jersey at the following address:

                                         United States District Court
                                            District of New Jersey
                                   Martin Luther King, Jr. Federal Building
                                              50 Walnut Street
                                             Newark, N.J. 07102
                                    Attention: Pro Hac Vice Admissions

        and it is further ORDERED that the applicant shall be bound by the Local Rules of the United
States District Court for the District of New Jersey and the Local Rules of Bankruptcy Procedure for
the District of New Jersey; and it is further

        ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New Jersey
Lawyers' Fund for Client Protection within 5 days of its date of entry.


                                                                                                      rev. 8/1/15



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